           Case 22-12040-amc                 Doc 66        Filed 10/30/23 Entered 10/30/23 14:00:32        Desc Main
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
                                                           Document     Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
  Eastern
 _______________________________________              Pennsylvania
                                         District of ___________________________________________

      The Swarthmore Group, Inc. f/k/a The S. Group, Inc.
In re __________________________________________                                 22-12040-AMC
                                                                        Case No. _____________________
                                  Debtor
                                                                                 7
                                                                        Chapter ______________


                                           SUBPOENA FOR RULE 2004 EXAMINATION

     Paula Mandle, c/o Peter Dee, Tuttle Yick, LLP, 352 Seventh Avev. Fl. 14, New York, NY 10001
To: ________________________________________________________________________________________
                                       (Name of person to whom the subpoena is directed)


X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE VIA VIDEO CONFERENCE OR OTHER REMOTE MEANS                                       DATE AND TIME
Bernstein-Burkley, P.C.                                                                Tuesday, November 28, 2023
601 Grant Street, 9th Floor                                                            9:00 a.m. - 5:00 p.m.
Pittsburgh, PA 15219



                                                  Stenography
The examination will be recorded by this method: ___________________________________________________________

    Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:




        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

       October 27, 2023
Date: _____________
                                 CLERK OF COURT

                                                                       OR
                                 ________________________                   ________________________
                                 Signature of Clerk or Deputy Clerk             Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party) Trustee Terry P. Dershaw
____________________________ , who issues or requests this subpoena, are: John J. Richardson, Bernstein-Burkley, P.C.
601 Grant Street, 9th Floor, Pittsburgh, PA 15219
jrichardson@bernsteinlaw.com
(412) 456-8100

                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
